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                           United States Bankruptcy Court
                                       District of Connecticut
                                                                                                  Filed and Entered
                                                                                                      On Docket
                                                                                                   October 1, 2024


In re:
         Stephanie Sophie Sklarsky                                                          Case Number: 24−20432
         Debtor*                                                                            Chapter: 7




         CLERK'S NOTICE OF NON−COMPLIANCE WITH THE FEDERAL RULES OF BANKRUPTCY
            PROCEDURE AND THIS COURT'S LOCAL RULES OF BANKRUPTCY PROCEDURE



        Patrick Lombardi (the "Movant"), filed a Motion for dated September 23, 2024, (the "Motion", ECF No. 31).
As set forth in the deficiency notice issued by the Clerk's Office on September 23, 2024, ECF No. 32, the Motion was
not filed in compliance with the Federal Rules of Bankruptcy Procedure and this Court's Local Rules of Bankruptcy
Procedure for the following reason(s):

    Fee Application cover sheet not filed in accordance with D. Conn. Bankr. L.R. 2016−1.
    Motion for Relief from Stay work sheet not filed in accordance with D. Conn. Bankr. L.R. 4001−1.
    Motion/Application not in compliance with D. Conn. Bankr. L.R. 9013−1.
    Contested Matter Procedure not followed in accordance with D. Conn. Bankr. L.R. 9014−1.
    Deficient Certificate of Service not in compliance with Fed. R. Bankr. P. 7004−1.
    Deficient Response Deadline.



The deficiency in the Motion has not been cured. No further action will be taken on the Motion, ECF No. 31.

Dated: October 1, 2024


                                                                                              Pietro Cicolini
                                                                                              Clerk of Court




United States Bankruptcy Court                                                      Tel. (860) 240−3675
District of Connecticut                                                             VCIS* (866) 222−8029
450 Main Street, 7th Floor                                                          * Voice Case Information System
Hartford, CT 06103                                                                  http://www.ctb.uscourts.gov
                                                                                    Form 144 − ts
*For the purposes of this order, "Debtor" means "Debtors" where applicable.
